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a as . . 2 . . Store.
- Designation Notice U.S. Department of Labor cane ae
(Family and Medical Leave Act) . cee reandards Administration . PR Wl EIR biG

US. Waue andMows Division
OMB Control Number: 1215-0181

- : : : Expires: 12/31/2011
Leave covered under the Family and Medical Leave Act (MLA) must be designated as FMLA-protected and the employer must inform the timployee of the

amount of leave that will be counted against the employee’s FMLA leave entitlement. In order to determine whether leave is covered under the FMLA, the
employer may request that the leave be supported by a certification. Ifthe certification is incomplete or insufileient, the employer must state in writing what
additional information is necessary to make the certification complete and sufficient, While use of this form by employers is optional, a fully completed Fomn
WH-382 provides an easy method of providing employees with the writtem information required by 29 CIR. §§ 825.300(c), 825.301, and 825.305(c).

To: - Ju [ain OY -
Date: ] -AU- LO Lf —™

We have reviewed your request for leave under the FMLA and any Pee AS documentation that you have provided.
We rep€ived your most recent information on [ ~ a) We ~~ \ and decided:

f Your FMOLA leave request is approved. All leave taken for this reason Will be designated as FIMILA leave.

The FMLA requires that you notify us as soon as practicable if dates of scheduled leave change or are extended, or were

initially unlmown. Based on the information you have provided to date, we are providing the following information about the
amount of time that will be coumted against your leave entitlement: ,

Provided there is no deviation from your anticipated leave schedule, the following number of hours, days, or weeks will be
counted against your leave entitlement: . :

\/ Because the leave you will need will be unscheduled, itis not possible to provide the hours, days, or weeks that will be counted
against your FMLA entitlement at this time. You have the right to request this information once in a 30-day period (if leave
was taken in the 30-day period). -

Please be advised (check if applicable):

You have requested to use paid leave during your FMLA leave. Any paid leave taken for this reason will count against your
FMLA leave entiilement. ,

We are requiring’you to substitute or use paid leave during your FMLA leave.
You will be required to present a fitness-for-duty certificate to be restored to employment. If such certification is not timely

received, your retum to work may be delayed until certification is provided. A list of the essential fimctions of ‘your position
Io is I is not attached. If attached, the fitness-for-duty certification must address your ability to perform these functions,

Additional information is needed to determine if your FMLA leave request can be approved: oe

The certification you have provided is not complete and sufficient to determine whether the FMLA applies to your leave
request. You must provide the following information no later than : , unless itis not

(Provide af least seven calendar days)
practicable under the particular circumstances despite your diligent good faith efforts, or your leave may be denied.

(Specify information needed to make the certification complete and sufficient)

We are exercising our right to have you obtain a second or third opinion medical certification at our expense, and we will
provide further details at a later time.
Your FMLA Leave request is Not Approved.

The FMLA does not apply to your leave request.
‘You have exhausted your FMLA leave entitlement in the applicable 12-month period.

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Notice of Eligibility and Rights & U.S. Department of Labor .
Responsibilities Wages our Diesen nest
(Family and Medical Leave Act)

. US. Ware ind Hour Division
-— OMB Control Number: 1215-0181
Expires; 12/31/2011
In general, to be eligible an employee must have worked for an employer for at least 12 months, have worked at least 1,250 hours inthe 12
months preceding the leave, and work at a site with at least 50 employees within 75 miles, While use of this form by employers is optional, a
fully completed Form WH-381 provides employees with the information required by 29 CER. § 825.300(6), which must be. provided within
five business days of the employee notifying the employer of the need for FMLA leave. Part B provides employees with information
regarding their rights and responsibilities for taking FMLA leave, as required by 29 CER. § §25.300(b), (c). ,

(Fart A - NOTICE OF ELIGIBILITY]

mo: _ WUE Tenor
Employee :

FROM: Donna Landry, Director of Operations/HR
Employer Representative

DATE: | AY -ROl]

On - a | - od 0 ] | , you informed us that you needed leave beginning on AS j } / for:
___, The birth ofa child, or placement of a child with you for adoption or foster carey
* Your own serious health condition; .
Because you are needed to care for your spouse; child; parent due to his/her serious health condition.

Because of a qualifying exigency arising out of the fact that your spouse; _Son or daughter; . parent is on active
: duty or call to active duty status in support of a contingency operation as a member of the National Guard or Reserves.

Because you are the spouse;
serious injury or illness,

son or daughter; parent; ___next of kin of a covered servicemember with a

This Notice is to inform you that you:

\ Are eligible for FMLA leave (See Part B below for Rights and Responsibilities)
Are not eligible for FMLA leave, because (only one reason need be checked, although you may not be eligible for other reasons):

You have not met the FMLA’s 12-month length of service requirement. As of the first date of requested leave, you will
have worked approximately: _ months towards this requirement.
You have not met the FMLA’s 1,250-hours-worked requirement,

You do not work and/or report to a site with 50 or more employees within 75-miles.
Ifyou have any questions, contact Donna Landry x2250 L:

FMLA poster located in _Water St. Conference Room f L{ Wn Ot tmnt ORC

[PART B-RIGHTS AND RESPONSIBILITIES FOR TAKING FMLA LEAVE]

As explained in Part A, you meet the eligibility requirements for taking FMLA leave and still have FMLA leave available in the applicable
12-month period. However, in order for us to determine whether your absence qualifies as FMLA leave, you must return the '
following information to us by + (fa certification is requested, employers must allow at least 15
calendar days from receipt of this notice; additional time may be required in some circumstances.) If sufficient information is not provided in
atimely manner, your leave may be denied.

or view the

a

Sufficient certification to support your request for FMLA leave. A certification form that sets forth the information necessary to support your
request is/ is not enclosed. ‘

Sufficient documentation to establish the required relationship between you and your family member.
Other information needed:

S No additional information requested

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i, leave Goes qualify as FMLA leave you will have the following respousthiities while on FMLA leave (only checked blanks apply):

contact Y ihe [ [ é. lo p A Luin at Ch C ° 2D to make arrangements to continue to make your shar

r

the premium payments on your health insurarice to maintain health benefits while you are on leave. You have a minimum 30-day (or. indicate
longer period, if applicable) grace period in which to make premium payments. If payment is not made timely, your group health insurance may be
cancelled, provided we notify you in writing at least 15 days before the date that your health coverage will lapse, or; at our option, we may pay your |
share of the premiums during FMLA leave, and recover these payments from you upon your retum to ‘work.

You will be required to use your available paid sick, vacation, and/or other leave during your FMLA absence, This
means that you will receive your paid leave and the leave will also be considered protected FMLA, leave and counted against your FMLA leave
entitlement. . :

Due to your status within the company, you are considered a “key employee” as defined in the FMLA. Asa“key employee,” restoration to
employment may be denied following FMILA leave on the grounds that such restoration will cause substantial and grievous economic injury to us.

We have/ ¥ have mot determined that restoring you to employment at the conclusion of FMLA Jeave will cause substantial and prievous
economic harm tous, . .

While on leave you will be Tequired to furnish us with periodic reporls of your status and intent to retum io work every
icate inter ports ropriate for the particular leave situation),

If the chreumstances of your leave change, and you are able to return to work carlier than the date indicated on the reverse side of this form, you will
be required to notify us at least two workdays prior to the date you intend fo report for work. :

If your leave does qualify as FMA leave you will have the following rights while on FMLA leave:

2 Youwhave aright under the FMLA for up to 12 weeks of unpaid leave in a 12-month period caloulated as;
the calendar year (January —December),

a fixed leave year based on

the 12-month period measured forward ftom the date of your first FMLA Jeave usage.

v a “rolling” 12-month period measured backward fiom the date of. any FMLA leave usage,

® . Your health benefits must be maintained during any period of unpaid leave under the same conditions as if you continued to work.
® You must be reinstated to the same or an equivalent job with the same pay, benefits, and terms and conditions of employment on your return from

o- rf weve novinformed you above that you must use accrued paid leave while taking your unpaid FMLA leave entitlement, you have the right to have
ck, i i i

Once we obtain the information from you as specified above, we will inform you, within 5 business days, whether your leave will be designated as
FMLA leave and count towards your FMI.A leave entitlement. If you have any questions, please do not hesitate to contact:

at

estimate or any other aspect of this collection information, including suggestions for reducing this burden, send them to the Administrator. Wage and Hour Division,
US. Department of Labor, Room §~3502, 200 Constitution Ave., NW, Washington, DC 20210, DO NOT SEND THE COMPLETED FORM TO THE WAGE

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